  AO 435Case         4:20-cr-00142-SDJ-KPJ Document 23 Filed 06/22/20 Page 1 of 2 PageID #: 74
(Rev. 04/18)
                                                    ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS                     FOR COURT USE ONLY

                                                                                                                          DUE DATE:
     Instructions                                                  TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                                2. PHONE NUMBER                    3. DATE
Christopher Eason                                                                     (972) 509-1201                      6/22/2020
4. DELIVERY ADDRESS OR EMAIL                                                           5. CITY                            6. STATE           7. ZIP CODE
Chris.Eason@usdoj.gov                                                                 Plano                               TX                 75074
8. CASE NUMBER                                  9. JUDGE                                                  DATES OF PROCEEDINGS
4:20CR142                                       Christine A. Nowak                     10. FROM 6/18/2020            11. TO 6/18/2020
12. CASE NAME                                                                                           LOCATION OF PROCEEDINGS
DANIEL AUSTIN DUNN                                                                     13. CITY Sherman              14. STATE Texas
15. ORDER FOR
’ APPEAL                                        ’      CRIMINAL                        ’   CRIMINAL JUSTICE ACT               ’   BANKRUPTCY
’   NON-APPEAL                                  ’      CIVIL                           ’   IN FORMA PAUPERIS                  ’   OTHER (Specify)

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                 PORTIONS                                          DATE(S)                         PORTION(S)                            DATE(S)
’   VOIR DIRE                                                                          ’   TESTIMONY (Specify Witness)

’   OPENING STATEMENT (Plaintiff)

’   OPENING STATEMENT (Defendant)

’   CLOSING ARGUMENT (Plaintiff)                                                       ’   PRE-TRIAL PROCEEDING (Spcy)

’   CLOSING ARGUMENT (Defendant)                                                      detention hearing                   6/18/2020
’   OPINION OF COURT

’   JURY INSTRUCTIONS                                                                  ’   OTHER (Specify)

’   SENTENCING

’   BAIL HEARING
                                                                                  17. ORDER
                             ORIGINAL                                 ADDITIONAL
 CATEGORY              (Includes Certified Copy to      FIRST COPY                            NO. OF PAGES ESTIMATE                       COSTS
                     Clerk for Records of the Court)
                                                                        COPIES
                                                                      NO. OF COPIES
  ORDINARY                         ’                           ’
                                                                      NO. OF COPIES
    14-Day                         ’                           ’
                                                                      NO. OF COPIES
 EXPEDITED                         ’                           ’
                                                                      NO. OF COPIES
     3-Day                         ’                           ’
                                                                      NO. OF COPIES
    DAILY                          ’                           ’
                                                                      NO. OF COPIES
    HOURLY                         ’                           ’
  REALTIME                         ’                           ’
                     CERTIFICATION (18. & 19.)
           By signing below, I certify that I will pay all charges                               ESTIMATE TOTAL
                        (deposit plus additional).                                                                        $                0.00     0.00
18. SIGNATURE                                                                          PROCESSED BY
/s/ Christopher A. Eason
19. DATE                                                                               PHONE NUMBER
6/22/2020
TRANSCRIPT TO BE PREPARED BY                                                           COURT ADDRESS




                                                           DATE              BY
ORDER RECEIVED

DEPOSIT PAID                                                                           DEPOSIT PAID

TRANSCRIPT ORDERED                                                                     TOTAL CHARGES                      $                0.00     0.00

TRANSCRIPT RECEIVED                                                                    LESS DEPOSIT                       $                0.00     0.00
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT                                                                  TOTAL REFUNDED

PARTY RECEIVED TRANSCRIPT                                                              TOTAL DUE                          $                0.00     0.00
             DISTRIBUTION:               COURT COPY            TRANSCRIPTION COPY      ORDER RECEIPT         ORDER COPY
             Print                             Save As...                                                                                      Reset
        Case 4:20-cr-00142-SDJ-KPJ Document 23 Filed 06/22/20 Page 2 of 2 PageID #: 75
  AO 435
(Rev. 04/18)                                           INSTRUCTIONS
         Return
                                                           GENERAL

Use. Use this form to order the transcription of proceedings. Complete a separate order form for each case number for which
transcripts are ordered.

Completion. Complete Items 1-19. Do not complete shaded areas which are reserved for the court’s use.

Order Copy. Keep a copy for your records.

Submitting to the Court. Submit the form in the format required by the court.

Deposit Fee. The court will notify you of the amount of the required deposit fee which may be mailed or delivered to the court.
Upon receipt of the deposit, the court will process the order.

Delivery Time. Delivery time is computed from the date of receipt of the deposit fee or for transcripts ordered by the federal
government from the date of receipt of the signed order form.

Completion of Order. The court will notify you when the transcript is completed.

Balance Due. If the deposit fee was insufficient to cover all charges, the court will notify you of the balance due which must be
paid prior to receiving the completed order.

                                                           SPECIFIC

Items 1-19.    These items should always be completed.
Item 8.        Only one case number may be listed per order.
Item 15.       Place an “X” in each box that applies.
Item 16.       Place an “X” in the box for each portion requested. List specific date(s) of the proceedings for which transcript is
               requested. Be sure that the description is clearly written to facilitate processing. Orders may be placed for as few
               pages of transcript as are needed.
Item 17.       Categories. There are six (6) categories of transcripts which may be ordered. These are:
                       Ordinary. A transcript to be delivered within thirty (30) calendar days after receipt of an order. (Order
                       is considered received upon receipt of the deposit.)
                       14-Day. A transcript to be delivered within fourteen (14) calendar days after receipt of an order.
                       Expedited. A transcript to be delivered within seven (7) calendar days after receipt of an order.
                       3-Day. A transcript to be delivered within three (3) calendar days after receipt of an order.
                       Daily. A transcript to be delivered following adjournment and prior to the normal opening hour of the
                       court on the following morning whether or not it actually is a court day.
                       Hourly. A transcript of proceedings ordered under unusual circumstances to be delivered within two (2)
                       hours.
                       Realtime. A draft unedited transcript produced by a certified realtime reporter as a byproduct of realtime
                       to be delivered electronically during proceedings or immediately following adjournment.

NOTE: Full price may be charged only if the transcript is delivered within the required time frame. For example, if an order for
expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the 14-day delivery rate,
and if not completed and delivered within 14 calendar days, payment would be at the ordinary delivery rate.

               Ordering. Place an “X” in each box that applies. Indicate the number of additional copies ordered.
                      Original. Original typing of the transcript. An original must be ordered and prepared prior to the
                      availability of copies. The original fee is charged only once. The fee for the original includes the copy
                      for the records of the court.
                      First Copy. First copy of the transcript after the original has been prepared. All parties ordering copies
                      must pay this rate for the first copy ordered.
                      Additional Copies. All other copies of the transcript ordered by the same party.
Item 18.              Sign in this space to certify that you will pay all charges. (This includes the deposit plus any additional
                      charges.)
Item 19.              Enter the date of signing.

Shaded Area. Reserved for the court’s use.
